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                UNITED STATES DISTRICT COURT
                   DISTRICT OF MINNESOTA
 UNITED STATES OF AMERICA,                )    Criminal No. 22-111 JNE
                                          )
                          Plaintiff,      )    NOTICE OF APPEARANCE
       v.                                 )
                                          )
 SUZANNE GRIFFITHS,                       )
                                          )
                        Defendant.



      Pursuant to the Court’s order appointing counsel, the undersigned attorney

hereby notifies the Court and counsel that Shannon Elkins shall appear as

appointed counsel of record for the above named defendant in this case.



Dated: June 07, 2022                          s/Shannon Elkins
                                              SHANNON ELKINS
                                              Attorney ID No. 332161
                                              Attorney for Defendant
                                              Office of the Federal Defender
                                              107 U.S. Courthouse
                                              300 South Fourth Street
                                              Minneapolis, MN 55415
